USDC IN/ND case 1:12-cv-00267-TLS-RBC document 20 filed 01/18/13 page 1 of 2


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION


  NFN VALANCE,                          )
                                        )
                 Plaintiff,             )
                                        )
  vs.                                   )                      Case No. 1:12-CV-267-TLS
                                        )
  MATTHEW 25,                           )
                                        )
                 Defendant.             )


                                 NOTICE OF SETTLEMENT

         NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

  reached a settlement. Parties anticipate filing a stipulation for dismissal when appropriate

  Medicare notices are received.

                                               Respectfully submitted,

                                               HUNT SUEDHOFF KALAMAROS LLP



                                                /s/ Linda A. Polley
                                               James J. Shea, Sr., Attorney No. 2177-02
                                               Linda A. Polley, Attorney No. 10897-02
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                                               ATTORNEYS FOR DEFENDANT,
                                               MATTHEW 25
USDC IN/ND case 1:12-cv-00267-TLS-RBC document 20 filed 01/18/13 page 2 of 2


                             CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on the 18th day of January, 2013, she
  electronically filed Notice Of Settlement with the Clerk of the Court using the CM/ECF
  system and further certifies that a true and correct copy was also served to pro se
  Plaintiff, NFN Valance, by U.S. Mail, as follows:

  Mr. NFN Valance
  5910 Hessen Cassel
  Apartment 224
  Fort Wayne, IN 46816


                                             /s/ Linda A. Polley
                                            James J. Shea, Sr./Linda A. Polley




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